                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF
                                    PENNSYLVANIA


 DANIEL HUBERT, individually and on behalf of :           Civil Action No. 2:15-cv-01391-MRH
 all others similarly situated,               :
                                              :
                          Plaintiff,          :
                                              :                Oral Argument Requested
         v.                                   :
                                              :                This Document Relates
 GENERAL NUTRITION CORPORATION,               :                All Actions
                                              :
                          Defendant.          :
                                              :
 (In re: GNC Picamilon/BMPEA Litigation)      :


                     PLAINTIFFS’ NOTICE OF MOTION TO STRIKE
                        DECLARATION OF STEPHEN CHERRY
       Plaintiffs respectfully move this Court for an Order striking certain portions of the

Declaration of Stephen Cherry, attached to Defendant General Nutrition Corporation’s Motion to

Dismiss Plaintiffs’ Second Amended Consolidated Class Action Complaint.

       In support of this motion Plaintiffs respectfully submit their Brief in Support of Plaintiffs’

Motion to Strike Declaration of Stephen Cherry, filed concurrently with this notice. A proposed

Order is attached.
Dated: November 14, 2017   Respectfully submitted,

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